                   Case 18-11500-LSS               Doc 5      Filed 07/03/18         Page 1 of 3




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:
                                                              Chapter 7
EDUCATION MANAGEMENT II, LLC, et
al.1,                                                         Case No. 18-11494 (LSS)
                  Debtors.


                         NOTICE OF APPEARANCE AND REQUEST
                     FOR SERVICE PURSUANT TO FED. R. BANKR. P. 2002

                  PLEASE TAKE NOTICE that the George L. Miller, Chapter 7 Trustee

appointed in the above-captioned cases (the “Trustee”), hereby appears by his proposed counsel,

Pachulski Stang Ziehl & Jones LLP (“PSZJ”). PSZJ hereby enters its appearance pursuant to

section 1109(b) of title 11 of the United States Code (the “Bankruptcy Code”), and Rule 9010(b)

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and requests that the

undersigned be added to the official mailing matrix and service lists in these cases. PSZJ

requests, pursuant to Bankruptcy Rules 2002, 3017 and 9007 and section 1109(b) of the

Bankruptcy Code, that copies of all notices and pleadings given or required to be given in these

chapter 11 cases and copies of all papers served or required to be served in these chapter 11

cases, including, but not limited to, all notices (including those required by Bankruptcy Rule

2002), reports, pleadings, motions, applications, lists, schedules, statements, chapter 11 plans,

disclosure statements and all other matters arising herein or in any related adversary proceeding,

be given and served upon the Trustee through service upon PSZJ, at the addresses, telephone,

and facsimile numbers set forth below:




1
 A motion to jointly administer this case and the fifty-eight related cases will be filed by the Trustee. A listing of
all fifty-nine affiliated Debtors and their cases numbers are attached hereto as Exhibit 1.


DOCS_DE:220161.1 68700/001
                  Case 18-11500-LSS        Doc 5    Filed 07/03/18      Page 2 of 3




Bradford J. Sandler
Colin R. Robinson
Pachulski Stang Ziehl & Jones LLP
919 N. Market Street, 17th Floor
P O Box 8705
Wilmington, DE 19899 (Courier 19801)
Telephone: (302) 652-4100
Facsimile: (302) 652-4400
E-mail: bsandler@pszjlaw.com
        crobinson@pszjlaw.com

                 PLEASE TAKE FURTHER NOTICE that, pursuant to section 1109(b) of the

Bankruptcy Code, the foregoing demand includes not only the notices and papers referred to in

the Bankruptcy Rules specified above, but also includes, without limitation, orders and notices of

any application, complaint or demand, motion, petition, pleading or request, and answering or

reply papers filed in these cases, whether formal or informal, written or oral, and whether served,

transmitted or conveyed by mail, hand delivery, telephone, telegraph, telex or otherwise filed or

made with regard to the above-captioned cases and proceedings therein.

                 PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and

Request for Service Pursuant to Fed. R. Bankr. P. 2002 shall not be deemed or construed to be a

waiver of any of the rights of the Trustee, including, without limitation, to (i) have final orders in

non-core matters entered only after de novo review by a higher court, (ii) trial by jury in any

proceeding so triable in these cases, or any case, controversy, or adversary proceeding related to

these cases, (iii) have the reference withdrawn in any matter subject to mandatory or

discretionary withdrawal, or (iv) any other rights, claims, actions, defenses, setoffs, or

recoupments to which the Trustee may be entitled in law or in equity, all of which rights, claims,

actions, defenses, setoffs, and recoupments are expressly reserved.




DOCS_DE:220161.1 68700/001                    2
                  Case 18-11500-LSS   Doc 5   Filed 07/03/18   Page 3 of 3




Dated: July 3, 2018                     PACHULSKI STANG ZIEHL & JONES LLP


                                         /s/ Bradford J. Sandler
                                        Bradford J. Sandler (DE Bar No. 4142)
                                        Colin R. Robinson (DE Bar No. 5524)
                                        919 North Market Street, 17th Floor
                                        P.O. Box 8705
                                        Wilmington, DE 19899 (Courier 19801)
                                        Telephone: 302-652-4100
                                        Facsimile: 302-652-4400
                                        E-mail: rpachulski@pszjlaw.com
                                                 jstang@pszjlaw.com
                                                 jpomerantz@pszjlaw.com
                                                 bsandler@pszjlaw.com
                                                 crobinson@pszjlaw.com

                                        Proposed Counsel for George L. Miller, Chapter 7
                                        Trustee




DOCS_DE:220161.1 68700/001              3
